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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 GENESIS MARINE, LLC                               §
     Plaintiff                                     §
                                                   §
                                                   §
                                                   § CIVIL ACTION NO. 4:21-cv-00289
 VERSUS                                            §
                                                   §
                                                   §
 SGR ENERGY, INC.                                  §
      Defendant                                    §


                         MOTION FOR STATUS CONFERENCE

        NOW INTO COURT, through undersigned counsel, comes plaintiff, Genesis Marine, LLC

(“Genesis”), which moves this Honorable Court for an order setting a status conference in this

matter. Genesis seeks a status conference with the Court because the prior bankruptcy of SGR

Energy, Inc. (“SGR”) has been dismissed as per the attached Exhibit “A.” Furthermore, Genesis

intends to proceed with collection of the judgment through a judgment debtor examination as per

the attached Exhibit “B,” Notice of SGR Energy, Inc.’s Corporate Deposition. Genesis wants to

address with the Court how that should proceed given that SGR no longer has counsel in the case.

                                             Respectfully submitted,

                                             PHELPS DUNBAR LLP



                                             BY:    /s/ E. Martin McLeod
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                                             ATTORNEY-IN-CHARGE FOR GENESIS
                                             MARINE, LLC




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                               CERTIFICATE OF SERVICE
       I certify that on this 31st day of January, 2022, a true and correct copy of the foregoing
instrument has been served upon all counsel of record via CM/ECF.

                                            /s/ E. Martin McLeod
                                            Of Phelps Dunbar, LLP




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